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UNITED STATES DISTRICT COURT
W ESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,


                                                         DECISION AND ORDER
              v.                                              01-CR-129A

AARON B. PIKE
GREGORY R. PATTISON
MATTHEW J. HARRISON
RICHARD C. ALICEA, SR.,


                                   Defendants.




                                    INTRODUCTION

              Currently before the Court is defendant Matthew Harrison’s third

motion for severance 1 pursuant to Fed. R. Crim. P. 14. Harrison seeks

severance on the ground that a separate trial from co-defendant Aaron Pike will

permit him to offer exculpatory testimony by Pike.




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          Harrison made two earlier motions for severance. The first motion was made on
March 22, 2002, wherein Harrison moved generally for severance from “other defendants.” See
Dkt. No. 148. The second motion was made on December 18, 2005, wherein Harrison sought
severance on the ground of prejudicial spillover and because a co-defendant (Aaron Pike) was
proceeding pro se. The third motion for severance was filed on January 9, 2006.

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                                   DISCUSSION

             Under Rule 14, when multiple defendants have been otherwise

properly joined in one indictment, the Court may nonetheless grant a severance if

it appears that joinder will prejudice the defendant or the government. See Fed.

R. Crim. P. 14(a). As this Court has previously noted in denying Harrison’s first

and second motions to sever:

       [t]here is a preference in the federal system for joint trials of
       defendants who are indicted together. Joint trials play a vital role in
       the criminal justice system. They promote efficiency and serve the
       interests of justice by avoiding the scandal and inequity of
       inconsistent verdicts . . . W hen defendants properly have been joined
       under Rule 8(b), a district court should grant severance under Rule
       14 only if there is a serious risk that a joint trial would compromise
       specific trial rights of one of the defendants, or prevent the jury from
       making a reliable judgment about guilt or innocence . . . W hen the
       risk of prejudice is high, a district court is more likely to determine
       that separate trials are necessary, but . . . less drastic measures,
       such as limiting instructions, often will suffice to cure any risk of
       prejudice.

Zafiro v. United States, 506 U.S. 534, 537-40 (1993) (citations and internal

quotations omitted). It is well settled that defendants are not entitled to

severance merely because they may have a better chance of acquittal in

separate trials. Id. at 540. Rules 8(b) and 14 are designed to promote economy

and efficiency and to avoid a multiplicity of trials, so long as these objectives can

be achieved without substantial prejudice to the right of the defendants to a fair

trial. Id.




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             W hen a defendant seeks severance because a co-defendant intends

to offer exculpatory testimony on his behalf, the Court must consider the four

factors set forth in United States v. Finkelstein, 526 F.2d 517 (2d Cir. 1975), cert.

denied, 425 U.S. 960 (1976), specifically: (1) the sufficiency of the showing that

the co-defendant would testify at a severed trial and waive his Fifth Amendment

privilege against self-incrimination; (2) the degree to which the exculpatory

testimony would be cumulative; (3) the counter arguments of judicial economy;

and (4) the likelihood that the testimony would be subject to substantial,

damaging impeachment. Id. at 523-24.

             W ith respect to the first factor, co-defendant Aaron Pike has

provided an affidavit wherein he states, in sum and substance:

      2.     Although I am not willing to be called as a witness by any co-
             defendant in a joint trial, I would agree to waive my Fifth
             Amendment privilege and testify at a separate trial of Matthew
             Harrison.

      3.     At a separate trial of Mr. Harrison, I would testify that, to my
             knowledge, Mr. Harrison was not a participant in the drug
             distribution conspiracy alleged in count one of the pending
             second superseding indictment.


             Pike’s wholly conclusory statement that Harrison was not a

“participant” of the alleged drug conspiracy is insufficient to meet the showing

required in Finkelstein. The affidavit is devoid of any facts upon which that




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conclusory statement is made. For example, Pike does not say that he would

testify that he personally never provided any drugs to Harrison for distribution.

              Additionally, Pike’s offer of exculpatory testimony is implicitly

conditioned on its presumption that Harrison be tried after Pike. The third motion

to sever was made on January 9, 2006, just days before the trial of Harrison and

the remaining co-defendants was scheduled to commence.2 Aside from being

untimely, the motion appears to be based upon the presumption that if a

severance is granted, trial would proceed as scheduled against the remaining co-

defendants, but Harrison would be rescheduled for trial at a later date. Given that

the Court and counsel for the remaining defendants have cleared their schedule

for the next six weeks (the anticipated length of the trial), this presumption is likely

accurate. However, the Second Circuit has cautioned that an offer of exculpatory

testimony that is conditioned on the moving defendant being tried last “smacks of

bad faith.” See United States v. Bari, 750 F.2d 1169, 1177 (2d Cir. 1984). In

light of Pike’s not guilty plea, “it is unrealistic to think that [he] ‘would be any more

willing to waive his constitutional privilege against self-incrimination when called

as a witness at a separate trail than he would be willing to insist upon his privilege

as a defendant not to take the stand.’” Finkelstein, 526 F.2d at 524 (quoting Gorin

v. United States, 313 F.2d 641, 646 (1 st Cir.), cert. denied, 374 U.S. 829 (1963)).


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          Trial was scheduled to commence on January 6, 2006. However, due to numerous
pretrial motions and a family emergency for one of the lawyers, it was adjourned to January 17,
2006.

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This is especially true because at this juncture Pike has chosen to proceed pro

se. Therefore, his affidavit agreeing to provide exculpatory testimony was

provided without the benefit having been advised by legal counsel as to the

consequences of his purported Fifth Amendment waiver, or the consequences of

providing materially false testimony under oath. Under these circumstances, the

Court finds that Pike’s wholly conclusory, untimely and unrealistic offer to provide

exculpatory testimony weighs against granting the motion for severance.

             The second Finkelstein factor requires the Court to consider whether

the purported testimony would be cumulative. The Court assumes for the

purposes of this motion that Pike’s purported exculpatory testimony (that Harrison

was not a member of the charged conspiracy) would not be cumulative.

Nevertheless, the Court finds that third and fourth factors, like the first, weigh

heavily against granting severance.

             The third Finkelstein factor requires the Court to consider issues of

judicial economy. As stated, judicial economy favors that defendants who are

properly joined be tried together, so as to avoid not only a waste of judicial

resources, but also the inequity of inconsistent verdicts. While judicial economy

is a “serious consideration”, this factor, by itself, “does not foreclose further

inquiry.” See Finkelstein, 526 F.2d at 524. Nevertheless, in this case, judicial

economy weighs against granting the defendant’s motion.




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             Finally, and perhaps most importantly, the Court must consider the

likelihood that Pike’s proffered exculpatory testimony would be subject to

substantial, damaging impeachment. See Finkelstein, 526 F.2d at 524. The

veracity of Pike’s offer of exculpatory testimony is suspect not only for the

reasons stated above, but also because it is apparently contrary to Harrison’s

own statements made during his proffer session with the government. According

to the government, Harrison admitted during his proffer session, and in the

presence of counsel, that “he obtained quantities of methamphetamine from

Aaron Pike which he, in turn, distributed to others.” See Government Response,

Dkt. 575, at 2. Even if Pike were to testify at trial, Pike’s testimony would be

subject to substantial, damaging impeachment from Harrison himself, because

the government would be permitted to use Harrison’s proffer statements to

impeach Pike’s testimony. See United States v. Valez, 354 F.3d 190 (2d Cir.

2004) (holding that if a defendant presents evidence inconsistent with his proffer

statements, the government is then permitted to present the defendant's own

words in rebuttal); see also United States v. Krilich, 159 F.3d 1020, 1025 (7 th Cir.

1998) (holding that, where a defendant attempted to introduce the testimony of

another that was inconsistent with his own proffer, the government can use the

defendant’s proffer to contradict that testimony); United States v. Richardson, 130

F.3d 765, 778 (7 th Cir. 1997), vacated on other grounds, 526 U.S. 813 (1999)

(same); United States v. Dortch, 5 F.3d 1056, 1068 (7 th Cir. 1993) (same). Like


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the defendants in Valez, Krilich, Richardson and Dortch, Harrison signed a proffer

agreement wherein he agreed that any statements made by him could not be

used during the government’s case in chief, but could be used to impeach his

testimony. The fact that the testimony would be offered through Pike, not

Harrison, is of no consequence because by offering Pike’s testimony, Harrison

would “in effect [do] the same thing.” See e.g Richardson, 130 F.3d at 778

(holding that it didn’t matter whether the defendant personally testified contrary to

his proffer because offering testimony by another to that effect is the same thing).

             In sum, upon consideration of the Finkelstein factors and all the

circumstances of this case, the Court finds that defendant Harrison’s third motion

for severance should be denied.




      IT IS SO ORDERED.
                                       /s/   Richard J. Arcara
                                       HONORABLE RICHARD J. ARCARA
                                       CHIEF JUDGE
                                       UNITED STATES DISTRICT COURT

DATED: January       18   , 2006




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